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 8                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                   AT TACOMA
10
11    JAMEY CHRIS GOODWIN, Individually       Case No.
      and on Behalf of All Others Similarly
12    Situated,                               CLASS ACTION COMPLAINT FOR
                                              VIOLATIONS OF THE FEDERAL
13                      Plaintiff,            SECURITIES LAWS
14               v.                           JURY TRIAL DEMANDED
15
      CYTODYN, INC., NADER Z.
16    POURHASSAN, and MICHAEL
      MULHOLLAND,
17
                        Defendants.
18
19

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28   CLASS ACTION COMPLAINT - 1                               Ide Law Office
                                                         7900 SE 28th Street, Suite 500
                                                           Mercer Island, WA 98040
                                                              Ph.: 206 625-1326
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 1         Plaintiff Jamey Chris Goodwin (“Plaintiff”), individually and on behalf of all others
 2   similarly situated, alleges the following based upon personal knowledge, as to Plaintiff and
 3
     Plaintiff’s own acts, and upon information and belief, as to all other matters, based upon, inter
 4
     alia, the investigation conducted by and through Plaintiff’s attorneys, which included, among
 5
     other things: a review of Defendants’ public documents, conference calls, and announcements;
 6
 7   United States (“U.S.”) Securities and Exchange Commission (“SEC”) filings; wire and press

 8   releases published by and regarding CytoDyn, Inc. (“CytoDyn” or the “Company”); analysts’

 9   reports and advisories about the Company; and information readily obtainable on the Internet.
10                                   NATURE OF THE ACTION
11
           1.      This is a federal securities class action on behalf of a class consisting of all
12
     persons and entities that purchased or otherwise acquired CytoDyn common stock between
13
     March 27, 2020 and March 9, 2021, inclusive (the “Class Period”). Plaintiff brings claims
14
15   under the Securities Exchange Act of 1934 (the “Exchange Act”) against Defendants CytoDyn,

16   the Company’s Chief Executive Officer (“CEO”) Nader Z. Pourhassan (“Pourhassan”), and the

17   Company’s Chief Financial Officer (“CFO”) Michael Mulholland (“Mulholland”), and seeks to
18   recover damages caused by Defendants’ violations of the Exchange Act.
19
           2.      CytoDyn is a publicly-traded biotechnology company.              Headquartered in
20
     Vancouver, Washington, and incorporated in Delaware, CytoDyn is focused on the
21
     development and commercialization of a drug named “Leronlimab” which has long been
22
23   promoted as a potential therapy for HIV patients.

24         3.      Since the beginning of the global COVID-19 pandemic, however, CytoDyn has
25   made an about-face and has begun to aggressively tout Leronlimab as a treatment for COVID-
26
     19.
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 1         4.      After CytoDyn’s pivot to hyping Leronlimab as a treatment for COVID-19,
 2   CytoDyn’s stock price rose exponentially. Throughout 2019, CytoDyn’s stock traded for less
 3
     than $1.00 per share. Upon the pivot to hyping Leronlimab as a COVID-19 treatment, however,
 4
     CytoDyn’s stock price skyrocketed. The hype hit its peak when CytoDyn shares reached over
 5
     $10.00 per share on June 30, 2020.
 6
 7         5.      CytoDyn issued numerous press releases, conducted conference calls, participated

 8   in interviews, and aggressively utilized several third-party investor relations and stock

 9   newsletter services to tout Leronlimab as a potential treatment for COVID-19 and to pump up
10   the stock price of CytoDyn while executives aggressively sold shares.
11
           6.      Indeed, while CytoDyn’s stock price was sufficiently pumped with the COVID-
12
     19 cure hype, long-term shareholders, including Defendants Pourhassan and Mulholland,
13
     dumped millions of shares.      For example, on April 30, 2020, after exercising options to
14
15   purchase millions of CytoDyn shares at prices less than $1.00 per share, Defendant Pourhassan

16   sold over 4.8 million shares of CytoDyn stock, for over $15.7 million in total proceeds.

17   Defendant Pourhassan’s sale was approximately 85% of his total holdings of CytoDyn stock. In
18   addition, on December 21, 2020, Defendant Mullholland sold over 1.1 million shares for over
19
     $5.8 million in total proceeds. Thereafter, on December 28, 2020, Defendant Mullholland sold
20
     over 711,000 shares for over $4.4 million in total proceeds.
21
           7.      In addition to overstating the viability of Leronlimab as a COVID-19 treatment,
22
23   CytoDyn also engaged in a wrongful scheme with its lender, Iliad Research and Trading L.P.

24   (“Iliad”), and its principal John Fife (“Fife”), whereby Iliad and other Fife entities operated as
25   an unregistered securities dealer for CytoDyn.      In connection with Iliad lending funds to
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     CytoDyn, Iliad obtained a convertible promissory note from CytoDyn and converted the note
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 1   into newly issued shares of CytoDyn and sold those shares into the public market at a profit, in
 2   violation of the dealer registration requirements of the federal securities laws.
 3
           8.      Following Defendants Pourhassan’s and Mulholland’s cash-out of CytoDyn
 4
     shares at artificially inflated prices, the price of CytoDyn shares dropped precipitously to the
 5
     detriment of Plaintiff and the class. The market has learned that CytoDyn’s development and
 6
 7   marketing of Leronlimab as a treatment for COVID-19 was not commercially viable for

 8   CytoDyn.

 9                                   JURISDICTION AND VENUE
10         9.      The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of
11
     the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by
12
     the SEC (17 C.F.R. § 240.10b-5).
13
           10.     This Court has jurisdiction over the subject matter of this action pursuant to
14
15   Section 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331.

16         11.     Venue is proper in this District pursuant to Section 27 of the Exchange Act (15

17   U.S.C. § 78aa) and 28 U.S.C. § 1391(b), as the misleading statements entered into this District.
18         12.     In connection with the acts, conduct, and other wrongs alleged in this Complaint,
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     Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,
20
     including, but not limited to, the U.S. mail, interstate telephone communications, and facilities
21
     of national securities markets. All of the transactions in the securities that are at issue in this
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23   action took place within the U.S.

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 1                                             PARTIES
 2         13.      Plaintiff purchased or otherwise acquired CytoDyn shares at artificially inflated
 3
     prices during the Class Period and was damaged upon the revelation of the alleged corrective
 4
     disclosures.
 5
           14.      Defendant CytoDyn is a biotech company based in Vancouver, Washington.
 6
 7   CytoDyn’s business is primarily focused on the development and commercialization of a drug

 8   named Leronlimab. CytoDyn’s stock trades in the U.S. under the symbol “CYDY.”

 9         15.      The Company is liable for the acts of the Individual Defendants (defined below)
10   and its employees under the doctrine of respondeat superior and common law principles of
11
     agency because all of the wrongful acts complained of herein were carried out within the scope
12
     of their employment.
13
           16.      Defendant Pourhassan is CytoDyn’s CEO and a director of the Company.
14
15         17.      Defendant Mullholland is CytoDyn’s CFO.

16         18.      Defendants Pourhassan and Mullholland are collectively referred to herein as the

17   “Individual Defendants.”
18         19.      CytoDyn and the Individual Defendants are collectively referred to herein as
19
     “Defendants.”
20
                                   SUBSTANTIVE ALLEGATIONS
21
           20.      The Class Period begins on March 27, 2020. On that day, CytoDyn issued two
22
23   press releases regarding Leronlimab’s use in treating COVID-19 patients. CytoDyn issued a

24   release entitled “Leronlimab Used in Seven Patients with Severe COVID-19 Demonstrated
25   Promise with Two Intubated Patients in ICU, Removed from ICU and Extubated with Reduced
26
     Pulmonary Inflammation.” That press release stated:
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 1         VANCOUVER, Washington, March 27, 2020 (GLOBE NEWSWIRE) –
           CytoDyn Inc. (CYDY), (“CytoDyn” or the “Company”), a late-stage
 2         biotechnology company developing Leronlimab (PRO 140), a CCR5 antagonist
           with the potential for multiple therapeutic indications, announced today the three-
 3
           day results post-Leronlimab treatment of the first four patients under an
 4         Emergency Investigational New Drug (EIND) granted by the U.S. Food and Drug
           Administration (FDA). A total of seven patients have been enrolled thus far under
 5         EIND in the same leading medical center in the New York City area.
 6         The treatment with Leronlimab is targeted as a therapy for patients who
           experience respiratory complications as a result of contracting SARS-CoV-2
 7
           causing the Coronavirus Disease 2019 (COVID-19). Leronlimab is believed to
 8         provide therapeutic benefit by enhancing the immune response while mitigating
           the “cytokine storm” that leads to morbidity and mortality in these patients.
 9
           Bruce Patterson, M.D., Chief Executive Officer and founder of IncellDx, a
10         diagnostic partner and advisor to CytoDyn, said, “IncellDx has developed specific
11         companion diagnostic tests to determine the efficacy and dosing of Leronlimab in
           these severe cases of COVID-19. We found that patients with severe COVID-19
12         disease are in the midst of immunologic chaos which includes the cytokine storm.
           Our companion diagnostics showed that after three days of therapy, the immune
13         profile in these patients approached normal levels and the levels of cytokines
           involved in the cytokine storm were much improved.”
14
15         Jacob Lalezari, M.D., Interim Chief Medical Officer of CytoDyn, commented,
           “These preliminary results give hope that Leronlimab may help hospitalized
16         patients with COVID-19 recover from the pulmonary inflammation that drives
           mortality and the need for ventilators. A leading medical center in the heart of the
17         New York City epidemic was instrumental in giving the preliminary data.”
18         Nader Pourhassan, Ph.D., President and Chief Executive Officer of CytoDyn said:
19         “We are extremely pleased for the coronavirus patients under the care of the
           treating medical team and that the FDA is so responsive to advance our Phase 2
20         clinical trial. I am very hopeful that Leronlimab can help to reduce the rate of
           mortality among COVID-19 patients with severe symptoms of ARDS and to
21         assist our government to fight this battle.”
22
           21.     On March 31, 2020, CytoDyn entered into a Securities Purchase Agreement with
23
     Iliad whereby CytoDyn issued a secured convertible promissory note in the initial principal
24
     amount of $17.1 million. Iliad gave consideration of $15.0 million. The note was secured by
25
     all of the assets of CytoDyn, except its intellectual property. As part of the agreement, Iliad had
26
27   the option to convert all or part of the outstanding balance into shares of common stock at an

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 1    initial conversion price of $4.50 per share. Iliad secured anti-dilution adjustments with the
 2    promissory note and the conversion price of the promissory note was made subject to full-
 3
      ratchet anti-dilution protection, pursuant to which the conversion price would be automatically
 4
      reduced to equal the effective price per share in any new offering by CytoDyn of equity
 5
      securities.
 6
 7            22.     At the same time that CytoDyn was entering into the agreement with Iliad,

 8    CytoDyn’s stock price rose dramatically as it aggressively touted Leronlimab as a treatment for

 9    COVID-19. After trading below $1.00 per share for the entirety of 2019, the price of CytoDyn
10    stock skyrocketed.
11
              23.     Shares of CytoDyn were so actively traded during April 2020 that they accounted
12
      for nearly half of all dollar volume on the entire OTCQB Venture Market. The trading volume
13
      of CytoDyn trades in April was $612,566,094.1
14
15            24.     On April 30, 2020, CytoDyn filed a Form S-3 with the SEC. The Company

16    registered over 46.3 million shares of common stock for resale by “selling shareholders.” These

17    shares in the offering were largely comprised of converted preferred stock and exercised
18    warrants and stock options.
19
              25.     One of the selling shareholders identified was Iliad. Pursuant to the Form S-3,
20
      Iliad offered 6,300,000 shares that it obtained in connection with the promissory agreement.
21
              26.     Another of the selling shareholders was Bruce Patterson (“Patterson”), the
22
23    CytoDyn “partner” that boasted of Leronlimab’s efficacy in treating COVID-19 in CytoDyn

24    press releases. In the Form S-3, Patterson registered for sale 400,000 warrants and/or stock
25
26
     1
        See   https://www.benzinga.com/news/20/05/16076196/these-were-the-most-active-securities-on-otc-markets-in-
27   april.

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 1   options. The Form S-3 also noted that Patterson continued to own 169,242 shares following the
 2   offering.
 3
           27.     Another of the selling shareholders identified in the Form S-3 is Michael
 4
     McCarthy (“McCarthy”). McCarthy is the former owner of The DreamTeam Group, Mission
 5
     Investor Relations, LLC, and QualityStocks LLC. On April 10, 2017, the SEC hit McCarthy
 6
 7   and his businesses with an Order Instituting Cease and Desist Proceedings Pursuant to Section

 8   8A of the Securities Act of 1933, Making Findings, and Imposing a Cease and Desist Order in

 9   connection with improper stock promotion of two pharmaceutical companies, Galena
10   Biopharma, Inc. (“Galena”), and CytRx Corporation (“CytRx”). See In the Matter of Michael
11
     A. McCarthy, The DreamTeam Group, LLC, Mission Investor Relations, LLC, and
12
     Qualitystocks LLC, Administrative Proceeding No. 3-17917, Release No. 10343 (April 10,
13
     2017). The SEC found that McCarthy and his companies paid writers to post misleading
14
15   internet articles promoting securities of their publicly traded clients. Id. The articles purported

16   to be independent when, in fact, they were promotional pieces indirectly funded by the clients.

17   Id. Galena and CytRx were both fined by the SEC for this conduct and paid tens of millions in
18   shareholder settlements in connection with the scheme.            See In the Matter of CytRx
19
     Corporation, Administrative Proceeding No. 3-17919, Release No. 10345 (April 10, 2017); In
20
     the Matter of Galena Biopharma, Inc., and Mark J. Ahn, Administrative Proceeding No. 3-
21
     17911, Release No. 10337 (April 10, 2017).
22
23         28.     On April 30, 2020, after exercising options to purchase millions of CytoDyn

24   shares at prices less than $1.00 per share, Defendant Pourhassan sold over 4.8 million shares of
25   CytoDyn stock, for over $15.7 million in total proceeds. Defendant Pourhassan’s sale was
26
     approximately 85% of his total holdings of CytoDyn stock.
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 1          29.    On June 30, 2020, the price of CytoDyn stock hit its Class Period high of $10.01
 2   per share, on a trading volume of over 56 million trades.
 3
            30.    In June 2020, CytoDyn remained the most heavily traded security on the OTCQB
 4
     Market for that month and for the year to date. The dollar volume for June was $1,031,931,939,
 5
     which was more than five times greater than the second-most heavily traded security on the
 6
 7   OTCQB Venture Market.

 8          31.    On July 24, 2020, CytoDyn entered into a second amendment to the secured

 9   convertible promissory note with Iliad. The second amendment to the Note eliminated the
10   monthly volume limitation on the Investor’s sale of Conversion Shares under the Note.
11
            32.    On July 29, 2020, CytoDyn entered into a further agreement with Iliad whereby
12
     Iliad would extend credit to CytoDyn in exchange for a $28.5 million Secured Convertible
13
     Promissory Note.
14
15          33.    On August 17, 2020, CytoDyn issued a press release where it announced that it

16   had requested emergency use approval from the FDA. The press release stated, in part:

17          CytoDyn Submits its Top-line Report from its Phase 2 COVID-19 Trial to
            the U.S. FDA and Requests Emergency Use Approval
18
19          The Top-line Report has been sent to the regulatory authorities in Mexico, and
            will be provided to U.K. MHRA, and E.U. EMA, with requests for emergency use
20          approval

21          CytoDyn (CYDY) is preparing a Phase 3 protocol for Leronlimab use in
            longhauler COVID-19 individuals
22
23          VANCOUVER, Washington, Aug. 17, 2020 (GLOBE NEWSWIRE) – CytoDyn
            Inc., (“CytoDyn” or the “Company”), a late-stage biotechnology company
24          announced today it has provided its Top-line Report from its recently completed,
            randomized, double-blind, Phase 2 trial for COVID-19 patients with mild-to-
25          moderate symptoms to the U.S. Food and Drug Administration (FDA), and
            requested emergency use approval.
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 1         In addition, CytoDyn has sent its Top-line Report of the Phase 2, mild-to-
           moderate COVID-19 population, to the regulatory authorities in Mexico and
 2         hopes to obtain emergency use approval from the MHRA in the U.K., EMA in the
           European Union, as well as the regulatory authorities in the Philippines.
 3
 4         Along with the above activities, CytoDyn has been approached by several doctors
           about a clinical study of Leronlimab in long-hauler COVID-19 individuals. The
 5         Company is preparing a Phase 3 protocol and will file it as soon as possible.
 6         Nader Pourhassan, Ph.D., President and Chief Executive Officer of CytoDyn,
           stated, “We are very motivated to provide Leronlimab to patients throughout the
 7
           world who are suffering from COVID-19. We believe the statistically significant
 8         data of NEWS2 findings, along with impressive safety results (less SAEs or AEs
           with Leronlimab vs. placebo), from our Phase 2 trial set forth in the Top-line
 9         Report provides compelling data in support of Leronlimab’s use to fight COVID-
           19. We are in discussions with several regulatory agencies in other countries and
10         hope to obtain emergency approval for its use. We are in a very exciting period
11         for CytoDyn in regards to the potential role of Leronlimab in three different
           COVID-19 populations, mild-to-moderate, severe-to-critical, and long-haulers.”
12
           34.    The statements made in paragraph 33 are false and misleading because, as would
13
     later be revealed, CytoDyn did not actually request emergency-use authorization (“EUA”) from
14
15   the FDA.

16         35.    On August 20, 2020, Patterson participated in an interview with Dr. Drew Pinsky,

17   where he noted that he thought CytoDyn would move forward with a federal government
18   program aimed at fast-tracking virus treatments, dubbed Operation Warp Speed. Patterson’s
19
     comments “went viral” and CytoDyn stock rose 13% to $3.43 on August 21, 2020, and another
20
     12% to $3.84 on August 24, 2020.
21
           36.    Like Galena, CytRx, and McCarthy’s entities, CytoDyn has also aggressively
22
23   employed stock promotion firms that create misleading newsletters and internet postings to

24   hype investment in CytoDyn and promote the use of Leronlimab as a COVID-19 treatment.
25
26
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 1             37.      Throughout September 2020, CytoDyn remained the most traded security on the
 2       OTCQB Venture Market, with $285,663,617 in Dollar Volume.2
 3
               38.      Through the use of Company press releases and other information released by
 4
         CytoDyn’s partners, CytoDyn has released, or caused to be released, materially false and
 5
         misleading statements in violation of the federal securities laws.
 6
 7                                    THE TRUTH BEGINS TO EMERGE

 8             39.      Following the pump of CytoDyn stock price and cash-out by Company insiders

 9       and long-term shareholders, Defendants’ scheme began to unravel. For instance, on August 26,
10       2020, The Wall Street Journal reported that CytoDyn was not being considered for Operation
11
         Warp Speed. According to a senior administration official interviewed by The Wall Street
12
         Journal, “CytoDyn had only completed a preliminary qualification for being included in the
13
         initiative.” The official said that CytoDyn had submitted information through a so-called
14
15       CoronaWatch, a program run by the Biomedical Advanced Research and Development

16       Authority, or BARDA, to assess the viability of drugs and therapeutics that might be effective

17       against COVID-19.       Technical experts reviewed the submission and opted not to proceed
18       further at this time, the official confirmed.
19
               40.      Going further, the official noted that the team responsible for reviewing the
20
         materials makes clear to companies that submissions are for informational purposes only and do
21
         not lead to funding on their own, and that companies must apply to specific grant programs to
22
23       receive     funding,   which     CytoDyn        has   not    even     done      at   this    time.     See

24
25
26
     2
        See     https://www.benzinga.com/general/biotech/20/10/18025965/traders-have-rotated-into-big-multinational-
27   companies-on-otc-market.

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 1       https://www.wsj.com/articles/small-biotech-stock-cytodyn-soars-on-warp-speed-comment-
 2       11598456736.
 3
                41.     On the day before the publication of The Wall Street Journal article, on August
 4
         25, 2020, CytoDyn shares were closed at $3.81 per share. Following the publication of this
 5
         article, CytoDyn shares dropped over 17% to $3.15 over the next two trading days.
 6
 7              42.     On September 3, 2020, the SEC filed suit against Iliad, its principal Fife, and

 8       related entities, Chicago Venture Partners L.P., St. George Investments LLC, Tonaquint, Inc.,

 9       and Typenex Co-Investment, LLC. Calling Fife a “recidivist violator of the federal securities
10       laws,” the SEC alleged that these entities violated the mandatory dealer registration
11
         requirements of the federal securities laws. The SEC alleged that Iliad and its related entities,
12
         by buying convertible promissory notes, converting the notes into newly issued shares of stock,
13
         then rapidly selling those shares into the public at a profit, operated as unregistered securities
14
15       dealers in violation of the federal securities laws. See Securities and Exchange Commission v.

16       John M. Fife, Chicago Venture Partners, L.P., Iliad Research and Trading L.P., St. George

17       Investments LLC, Tonaquint, Inc., and Typenex Co-Investment LLC, Case No. 1:20-cv-05227,
18       Complaint (N.D. Ill. Sept. 3, 2020).3
19
                43.     Through Iliad’s actions with respect to CytoDyn, including entering into the
20
         convertible promissory note and its amendments, converting the note to newly issued shares of
21
         CytoDyn stock, and selling those shares into the market at a profit, Iliad operated as an
22
23       unregistered securities dealer and generated substantial profits.

24              44.     On September 16, 2020, Defendant Pourhassan was forced to admit that no
25       formal EUA request was actually made with the FDA, despite the Company claiming for weeks
26
27   3
         Available at https://www.sec.gov/litigation/complaints/2020/comp24886.pdf.

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 1   that it had done so. Instead, Pourhassan stated that CytoDyn had asked only for the FDA’s
 2   opinion, stating “we did not submit a formal letter to FDA saying we want to get Emergency
 3
     Use Authorization. We asked them for their opinion and they were not positive about it. Their
 4
     reasoning made a lot of sense to us.” See Moon Kil Woong, CytoDyn’s Update Provides A
 5
     Clear Path Towards Approval With Up-Listing Potential Still In The Cards, TALKMARKETS
 6
 7   (Sept. 18, 2020).

 8         45.     On September 17, 2020, CytoDyn was sued in the 11th Judicial Circuit for

 9   Miami-Date County, Florida by stock promoter Shift Media Lab for alleged failure to pay for its
10   stock promotion services.     Shift Media Lab vaguely alleged in its complaint that it was
11
     providing “services” for CytoDyn for three months at $25,000 per month. Shift Media Lab was
12
     previously listed by CytoDyn in a disclosure statement to the OTCQB Venture Market as
13
     providing “Brand Awareness” for CytoDyn.
14
15         46.     On November 10, 2020, CytoDyn entered into an amended $28.5 million Secured

16   Convertible Promissory Note with Fife’s company, Streeterville Capital LLC, a related entity

17   that was not specifically named in the SEC action against Iliad and Fife.
18         47.     On November 10, 2020, the day of CytoDyn’s further agreement with the Fife
19
     entity Streeterville Capital LLC, CytoDyn shares closed at $2.02 per share, representing an
20
     approximate 80% decline from the Class Period high.
21
           48.     Through the end of 2020 and the beginning of 2021, CytoDyn continued to
22
23   aggressively hype Leronlimab as a COVID-19 treatment. As CytoDyn shares were artificially

24   inflated once again, on December 21, 2020, Defendant Mullholland sold over 1.1 million shares
25   for over $5.8 million in total proceeds.      Thereafter, on December 28, 2020, Defendant
26
     Mullholland sold over 711,000 CytoDyn shares for over $4.4 million in total proceeds.
27
28
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 1   Moreover, on February 5, 2021, Deborah Celeste Kelly, the wife of CytoDyn Chairman Scott
 2   Kelly, filed a Form 144 Notice of Proposed Sale of Securities and listed an “approximate date
 3
     of sale” as February 1, 2021. The document lists a sale of over 350,000 shares for over $2.5
 4
     million.
 5
              49.    Beginning on the Friday after the close of trading on March 5, 2020, and
 6
 7   continuing over the weekend, CytoDyn issued a flurry of press releases describing the results of

 8   Phase IIb/III data on Leronlimab. Hidden in press releases with titles like “CytoDyn to File

 9   Accelerated Rolling Review with MHRA and Interim Order (IO) with Health Canada for
10   COVID-19” and “CytoDyn’s Phase 3 Trial Demonstrates Safety, a 24% Reduction in Mortality
11
     and Faster Hospital Discharge for Mechanically Ventilated Critically Ill COVID-19 Patients
12
     Treated with Leronlimab,” however, was a disclosure that the primary endpoint of the study—
13
     lowering all-cause mortality at Day 28—was not statistically significant. CytoDyn announced
14
15   that:

16            Amongst all patients in mITT, the primary endpoint (all-cause mortality at Day
              28) was not statistically significant. When age adjustment was conducted, the
17            primary endpoint was much closer to statistically significant value. Of note, the
              reduction of mortality in this population of 65 years and younger leronlimab arm
18            had more than 30% less mortality than placebo and 9% less mortality in
19            participants over 65.

20                                                  ***

21            With the age adjustment analysis in all other major secondary endpoints, there
              was consistent numerical superiority over the placebo group, with some
22
              secondary endpoints approaching statistical significance.
23
              50.    Following the flurry of press releases, CytoDyn was accused of “massaging the
24
     data” and squeezing good news out of a failed study, the results of which CytoDyn reportedly
25
     sat on pending regulatory discussions. CytoDyn also focused in on a subgroup that accounted
26
27   for 62 out of 384 patients enrolled in the CD12 trial and declared a survival benefit. While the

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 1   trial involved severe to critically ill patients, the Company touted that mechanically ventilated,
 2   critically ill patients saw a 24% reduction in all cause-mortality between the Leronlimab and
 3
     placebo arms, without breaking down the number of deaths in either group.                       See
 4
     https://endpts.com/cytodyn-tries-to-squeeze-positive-news-out-of-a-failed-covid-19-study-and-
 5
     shares-take-a-beating/.
 6
 7         51.     In the trading days that followed the release of the data, the price of CytoDyn

 8   shares plummeted. After closing at $4.05 on March 5, 2021, CytoDyn shares dropped over

 9   28% to close at $2.91 on March 8, 2021. On March 9, 2021, CytoDyn shares dropped an
10   additional 19% to close at $2.35.
11
           52.     As a result of Defendants’ wrongful acts and omissions, and the precipitous
12
     decline in the market value of the Company’s securities, Plaintiff and the other Class members
13
     have suffered significant losses and damages.
14
15                        PLAINTIFF’S CLASS ACTION ALLEGATIONS

16         53.     Plaintiff brings this action as a class action pursuant to Rules 23(a) and (b)(3) of

17   the Federal Rules of Civil Procedure on behalf of a class consisting of all those who purchased
18   or otherwise acquired CytoDyn securities during the Class Period and were damaged upon the
19
     revelation of the alleged corrective disclosure (the “Class”). Excluded from the Class are the
20
     Defendants named herein, the officers and directors of the Company, at all relevant times,
21
     members of their immediate families and their legal representatives, heirs, successors, or
22
23   assigns, and any entity in which Defendants have or had a controlling interest.

24         54.     The members of the Class are so numerous that joinder of all members is
25   impracticable. Throughout the Class Period, CytoDyn securities were actively traded over the
26
     counter (“OTC”) in the U.S. While the exact number of Class members is unknown to Plaintiff
27
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 1   at this time and can be ascertained only through appropriate discovery, Plaintiff believes that
 2   there are hundreds or thousands of members in the proposed Class. Record owners and other
 3
     members of the Class may be identified from records maintained by CytoDyn or its transfer
 4
     agent and/or OTC Markets and may be notified of the pendency of this action by mail, using the
 5
     form of notice similar to that customarily used in securities class actions.
 6
 7         55.     Plaintiff’s claims are typical of the claims of the members of the Class, as all

 8   members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

 9   federal law that is complained of herein.
10         56.     Plaintiff will fairly and adequately protect the interests of the members of the
11
     Class and has retained counsel competent and experienced in class and securities litigation.
12
     Plaintiff has no interests antagonistic to or in conflict with those of the Class.
13
           57.     Common questions of law and fact exist as to all members of the Class and
14
15   predominate over any questions solely affecting individual members of the Class. Among the

16   questions of law and fact common to the Class are:

17                 (a)     whether the federal securities laws were violated by Defendants’ acts as
18                         alleged herein;
19
                   (b)     whether statements made by Defendants to the investing public during the
20
                           Class Period misrepresented material facts about the business, operations,
21
                           and management of CytoDyn;
22
23                 (c)     whether the Individual Defendants caused CytoDyn to issue false and

24                         misleading statements during the Class Period;
25                 (d)     whether Defendants acted knowingly or recklessly in issuing false and
26
                           misleading statements;
27
28
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 1                 (e)    whether the prices of CytoDyn securities during the Class Period were
 2                        artificially inflated because of the Defendants’ conduct complained of
 3
                          herein; and
 4
                   (f)    whether the members of the Class have sustained damages and, if so, what
 5
                          is the proper measure of damages.
 6
 7         58.     A class action is superior to all other available methods for the fair and efficient

 8   adjudication of this controversy, and joinder of all members is impracticable.

 9         59.     Furthermore, as the damages suffered by individual Class members may be
10   relatively small, the expense and burden of individual litigation make it impossible for members
11
     of the Class to individually redress the wrongs done to them. There will be no difficulty in the
12
     management of this action as a class action.
13
                                  PRESUMPTION OF RELIANCE
14
15         60.     Plaintiff will rely, in part, upon the presumption of reliance established by the

16   fraud-on-the-market doctrine in that:

17                 (a)    Defendants made public misrepresentations or failed to disclose material
18                        facts during the Class Period;
19
                   (b)    the omissions and misrepresentations were material;
20
                   (c)    CytoDyn securities are traded in an efficient market;
21
                   (d)    the Company’s securities were liquid and traded with moderate to heavy
22
23                        volume during the Class Period;

24                 (e)    the Company’s securities were traded OTC in the U.S.;
25                 (f)    the Company was covered by securities analysts;
26
27
28
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 1                  (g)        the misrepresentations and omissions alleged would tend to induce a
 2                             reasonable investor to misjudge the value of the Company’s securities; and
 3
                    (h)        Plaintiff and members of the Class purchased, acquired, and/or sold
 4
                               CytoDyn securities between the time the Defendants failed to disclose or
 5
                               misrepresented material facts and the time the true facts were disclosed
 6
 7                             without knowledge of the omitted or misrepresented facts.

 8          61.     Based upon the foregoing, Plaintiff and the members of the Class are entitled to a

 9   presumption of reliance upon the integrity of the market.
10          62.     Alternatively, Plaintiff and the members of the Class are entitled to the
11
     presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of Utah v.
12
     United States, 406 U.S. 128 (1972), as Defendants omitted material information in their Class
13
     Period statements in violation of a duty to disclose such information, as detailed above.
14
15                                                 COUNT I

16   (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                                        Against All Defendants)
17
            63.     Plaintiff repeats and realleges each and every allegation contained above as if
18
19   fully set forth herein.

20          64.     This Count is asserted against Defendants and is based upon Section 10(b) of the

21   Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.
22
            65.     During the Class Period, Defendants engaged in a plan, scheme, conspiracy, and
23
     course of conduct pursuant to which they knowingly or recklessly engaged in acts, transactions,
24
     practices, and courses of business that operated as a fraud and deceit upon Plaintiff and the
25
     other members of the Class; made various untrue statements of material facts and omitted to
26
27   state material facts necessary in order to make the statements made, in light of the

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 1   circumstances under which they were made, not misleading; and employed devices, schemes,
 2   and artifices to defraud in connection with the purchase and sale of securities.
 3
           66.     Such scheme was intended to, and, throughout the Class Period, did: (i) deceive
 4
     the investing public, including Plaintiff and other Class members, as alleged herein; (ii)
 5
     artificially inflate and maintain the market price of CytoDyn securities; and (iii) cause Plaintiff
 6
 7   and other members of the Class to purchase or otherwise acquire CytoDyn securities at

 8   artificially inflated prices. In furtherance of this unlawful scheme, plan, and course of conduct,

 9   Defendants, and each of them, took the actions set forth herein.
10         67.     Pursuant to the above plan, scheme, conspiracy, and course of conduct, each of
11
     the Defendants participated directly or indirectly in the preparation and/or issuance of the
12
     annual reports, SEC filings, press releases, and other statements and documents, as described
13
     above, including statements made to securities analysts and the media, that were designed to
14
15   influence the market for CytoDyn securities. Such reports, filings, releases, and statements

16   were materially false and misleading in that they failed to disclose material adverse information

17   and misrepresented the truth about CytoDyn’s business and operations.
18         68.     By virtue of their positions at CytoDyn, Defendants had actual knowledge of the
19
     materially false and misleading statements and material omissions alleged herein and intended
20
     thereby to deceive Plaintiff and the other members of the Class. In the alternative, Defendants
21
     acted with reckless disregard for the truth in that they failed or refused to ascertain and disclose
22
23   such facts as would reveal the materially false and misleading nature of the statements made,

24   although such facts were readily available to Defendants.           Said acts and omissions of
25   Defendants were committed willfully or with reckless disregard for the truth. In addition, each
26
27
28
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 1   Defendant knew or recklessly disregarded that material facts were being misrepresented or
 2   omitted, as described above.
 3
            69.      Information showing that Defendants acted knowingly or with reckless disregard
 4
     for the truth is peculiarly within Defendants’ knowledge and control. As a senior manager
 5
     and/or director of CytoDyn, Defendant Pourhassan had knowledge of the details of CytoDyn’s
 6
 7   internal affairs.

 8          70.      Defendant Pourhassan is liable both directly and indirectly for the wrongs

 9   complained of herein. Because of his position of control and authority, Defendant Pourhassan
10   was able to, and did, directly or indirectly, control the content of the statements of CytoDyn. As
11
     an officer and/or director of a publicly held company, Defendant Pourhassan had a duty to
12
     disseminate timely, accurate, truthful, and complete information with respect to CytoDyn’s
13
     businesses, operations, future financial condition, and future prospects. As a result of the
14
15   dissemination of the aforementioned false and misleading reports, releases, and public

16   statements, the market price of CytoDyn securities was artificially inflated throughout the Class

17   Period.      In ignorance of the adverse facts concerning CytoDyn’s business and financial
18   condition, which were concealed by Defendants, Plaintiff and other members of the Class
19
     purchased or otherwise acquired CytoDyn securities at artificially inflated prices and relied
20
     upon the price of the securities, the integrity of the market for the securities, and/or statements
21
     disseminated by Defendants, and were damaged thereby.
22
23          71.      During the Class Period, CytoDyn securities were traded on an active and

24   efficient market. Plaintiff and the other members of the Class, relying on the materially false
25   and misleading statements described herein, which the Defendants made, issued, or caused to be
26
     disseminated, or relying upon the integrity of the market, purchased or otherwise acquired
27
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 1   CytoDyn securities at prices artificially inflated by Defendants’ wrongful conduct.             Had
 2   Plaintiff and the other members of the Class known the truth, they would not have purchased or
 3
     otherwise acquired said securities, or would not have purchased or otherwise acquired them at
 4
     the inflated prices that were paid. At the time of the purchases and/or acquisitions by Plaintiff
 5
     and the Class, the true value of CytoDyn securities was substantially lower than the prices paid
 6
 7   by Plaintiff and the other members of the Class. The market price of CytoDyn securities

 8   declined sharply upon public disclosure of the facts alleged herein, to the injury of Plaintiff and

 9   Class members.
10         72.     By reason of the conduct alleged herein, Defendants have knowingly or
11
     recklessly, directly or indirectly, violated Section 10(b) of the Exchange Act and Rule 10b-5
12
     promulgated thereunder by the SEC.
13
           73.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and
14
15   other members of the Class suffered damages in connection with their respective purchases,

16   acquisitions, and sales of the Company’s securities during the Class Period, upon the disclosure

17   that the Company had been disseminating misleading financial statements to the investing
18   public.
19
                                                COUNT II
20
        (Violations of Section 20(a) of the Exchange Act Against the Individual Defendants)
21
           74.     Plaintiff repeats and realleges each and every allegation contained in the
22
23   foregoing paragraphs as if fully set forth herein.

24         75.     During the Class Period, the Individual Defendants participated in the operation
25   and management of CytoDyn and conducted and participated, directly and indirectly, in the
26
     conduct of CytoDyn’s business affairs.        Because of their senior positions, the Individual
27
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 1   Defendants knew the adverse non-public information about CytoDyn’s current financial
 2   position and future business prospects.
 3
           76.     As an officer and/or director of a publicly owned company, Defendant Pourhassan
 4
     had a duty to disseminate accurate and truthful information, with respect to CytoDyn’s business
 5
     practices, and promptly correct any public statements issued by CytoDyn that had become
 6
 7   materially false or misleading.

 8         77.     Because of his position of control and authority as a senior director or officer and

 9   executive team member, Defendant Pourhassan was able to, and did, control the contents of the
10   various reports, press releases, and public filings that CytoDyn disseminated in the marketplace
11
     during the Class Period concerning the Company’s business, operational, and disclosure
12
     policies. Throughout the Class Period, Defendant Pourhassan exercised his power and authority
13
     to cause CytoDyn to engage in the wrongful acts complained of herein. Defendant Pourhassan,
14
15   therefore, was a “controlling person” of CytoDyn within the meaning of Section 20(a) of the

16   Exchange Act. In this capacity, Defendant Pourhassan participated in the unlawful conduct

17   alleged herein that artificially inflated the market price of CytoDyn securities.
18         78.     Defendant Pourhassan, therefore, acted as a controlling person of CytoDyn. By
19
     reason of his senior management position and/or being a director of CytoDyn, Defendant
20
     Pourhassan had the power to direct the actions of, and exercised the same, to cause CytoDyn to
21
     engage in the unlawful acts and conduct complained of herein. Defendant Pourhassan exercised
22
23   control over the general operations of CytoDyn and possessed the power to control the specific

24   activities that comprise the primary violations about which Plaintiff and the other members of
25   the Class complain.
26
27
28
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 1         79.     As the CFO of a publicly owned company, Defendant Mulholland had a duty to
 2   disseminate accurate and truthful information, with respect to CytoDyn’s business practices,
 3
     and promptly correct any public statements issued by CytoDyn that had become materially false
 4
     or misleading.
 5
           80.     Because of his position of control and authority as CFO, Defendant Mulholland
 6
 7   was able to, and did, control the contents of the various reports, press releases, and public filings

 8   that CytoDyn disseminated in the marketplace during the Class Period concerning the

 9   Company’s business, operational, and disclosure policies.          Throughout the Class Period,
10   Defendant Mulholland exercised his power and authority to cause CytoDyn to engage in the
11
     wrongful acts complained of herein. Defendant Mulholland, therefore, was a “controlling
12
     person” of CytoDyn within the meaning of Section 20(a) of the Exchange Act. In this capacity,
13
     Defendant Mulholland participated in the unlawful conduct alleged herein that artificially
14
15   inflated the market price of CytoDyn securities.

16         81.     Defendant Mulholland, therefore, acted as controlling person of CytoDyn. By

17   reason of his senior management position at CytoDyn, Defendant Mulholland had the power to
18   direct the actions of, and exercised the same, to cause CytoDyn to engage in the unlawful acts
19
     and conduct complained of herein. Defendant Mulholland exercised control over the general
20
     operations of CytoDyn and possessed the power to control the specific activities that comprise
21
     the primary violations about which Plaintiff and the other members of the Class complain.
22
23         82.     By reason of the above conduct, the Individual Defendants are liable pursuant to

24   Section 20(a) of the Exchange Act for the violations committed by CytoDyn.
25                                       PRAYER FOR RELIEF
26
           WHEREFORE, Plaintiff prays for judgment and relief as follows:
27
28
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 1          A.     Determining that the instant action may be maintained as a class action under
 2   Federal Rule of Civil Procedure 23 and certifying Plaintiff as Class Representative;
 3
            B.     Requiring Defendants to pay damages sustained by Plaintiff and the Class by
 4
     reason of the acts and transactions alleged herein;
 5
            C.     Awarding Plaintiff and the other members of the Class prejudgment and post-
 6
 7   judgment interest, as well as their reasonable attorneys’ fees, expert fees, and other costs;

 8          D.     Granting Plaintiff leave to amend its Complaint to conform to the evidence; and

 9          E.     Awarding such other and further relief as this Court may deem just and proper.
10                                    JURY TRIAL DEMANDED
11
            Plaintiff hereby demands a trial by jury.
12

13   Dated: April 9, 2021                           IDE LAW OFFICE
14                                                  s/Matthew J. Ide, WSBA No. 26002
15                                                  Matthew J. Ide, WSBA No. 26002
                                                    7900 SE 28th Street, Suite 500
16                                                  Mercer Island, WA 98050
                                                    Tel. (206) 625-1326
17                                                  email: mjide@yahoo.com
18
                                                    POMERANTZ LLP
19                                                  Jeremy A. Lieberman
                                                    (pro hac vice application forthcoming)
20                                                  J. Alexander Hood II
                                                    (pro hac vice application forthcoming)
21                                                  James M. LoPiano
                                                    (pro hac vice application forthcoming)
22
                                                    600 Third Avenue
23                                                  New York, New York 10016
                                                    Telephone: (212) 661-1100
24                                                  Facsimile: (212) 661-8665
                                                    jalieberman@pomlaw.com
25                                                  ahood@pomlaw.com
                                                    jlopiano@pomlaw.com
26
27
28
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 1                                      BRONSTEIN, GEWIRTZ &
                                        GROSSMAN, LLC
 2                                      Peretz Bronstein
                                        (pro hac vice application forthcoming)
 3
                                        60 East 42nd Street, Suite 4600
 4                                      New York, New York 10165
                                        Telephone: (212) 697-6484
 5                                      Facsimile: (212) 697-7296
                                        peretz@bgandg.com
 6
 7                                      Attorneys for Plaintiff Jamey Chris Goodwin

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                                                                                  Wednesday, March 10, 2021

 CytoDyn (CYDY)



CERTIFICATION PURSUANT TO FEDERAL SECURITIES LAWS
1. I make this declaration pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”)
and/or Section 21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as amended by the
Private Securities Litigation Reform Act of 1995.

2. I have reviewed a Complaint against CytoDyn Inc. (“CytoDyn” or the “Company”) and authorize the
 ling of a comparable complaint on my behalf.

3. I did not purchase or acquire CytoDyn securities at the direction of plaintiffs counsel, or in order to
participate in any private action arising under the Securities Act or Exchange Act.

4. I am willing to serve as a representative party on behalf of a Class of investors who purchased or
acquired CytoDyn securities during the class period, including providing testimony at deposition and
trial, if necessary. I understand that the Court has the authority to select the most adequate lead
plaintiff in this action.

5. The attached sheet lists all of my transactions in CytoDyn securities during the Class Period as
speci ed in the Complaint.

6. During the three-year period preceding the date on which this Certi cation is signed, I have not
sought to serve as a representative party on behalf of a class under the federal securities laws.

7. I agree not to accept any payment for serving as a representative party on behalf of the class as
set forth in the Complaint, beyond my pro rata share of any recovery, except such reasonable costs and
expenses directly relating to the representation of the class as ordered or approved by the Court.

8.   I declare under penalty of perjury that the foregoing is true and correct.




Name


Print Name
Jamey Chris Goodwin

Signature




                                                                                                              1
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CytoDyn Inc. (CYDY)                                                Goodwin, Jamey Chris

                             List of Purchases and Sales

   Transaction                              Number of                 Price Per
      Type            Date                  Shares/Unit              Share/Unit


     Purchase            7/23/2020                         2,000                  $5.5100
     Purchase            2/25/2021                         1,500                  $4.9200
